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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                )
                                      )
               Plaintiff,             )
                                      )
v.                                    )       Civil Action No. 14–0958 (RMC)
                                      )
NATIONAL INDIAN GAMING                )
COMMISSION, et al.,                   )
                                      )
               Defendants.            )
                                      )

                     PLAINTIFF’S CONSENT MOTION FOR
               MODIFICATION OF REMAINING BRIEFING SCHEDULE

       Plaintiff, through undersigned counsel, respectfully requests that this Court grant

modification of the briefing schedule, by permitting the parties an additional three weeks within

which to file their remaining submissions on summary judgment, Plaintiff from September 6,

2019 up to and including September 27, 2019; and Defendants thereafter up to and including

October 18, 2019. The grounds for the request are as follows:

       1. The Minute Order entered June 18, 2019 provided for Plaintiff to file a Response to

Defendant’s Cross Motion for Summary Judgment and Reply in Support of its Motion for

Summary Judgment on or before September 6, 2019; and for Defendant to file any Reply in

Support of the Cross Motion for Summary Judgment on or before September 20, 2019.

       2.   It is an unusually busy period for counsel with lead drafting responsibility here.

Among other things, the U.S. District Court for the Western District of Oklahoma recently

scheduled an opposition to Defendants’ Motion to Dismiss for September 15, 2019 in a matter

involving a complex factual record and host of difficult legal issues, Comanche Nation of

Oklahoma v. Bernhardt, et al., Case No. CIV 17–887–HE (W.D. Ok.), after dissolving a stay that
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had been in place for some time pending resolution of several appellate proceedings,

       3. Defense counsel has kindly consented to the request to modify the remaining briefing

schedule; and, in light of a very busy period for him as well, would seek a period of three weeks

within which to file a submission in reply.

       WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court

grant modification of the remaining briefing schedule as follows:

       1. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment,

           and Reply to Defendants’ Response to Plaintiff’s Motion for Summary

           Judgment from September 6, 2019 to September 27, 2019; and

       2. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

           Summary Judgment on or before October 18, 2019.

       A proposed Order is attached.



                                              Respectfully submitted,


                                              /s/ John P. Racin
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                              CERTIFICATE OF SERVICE

       The foregoing Plaintiff’s Consent Motion for Modification of Remaining Briefing
Schedule will be served to the following counsel for Defendant in this case by the Court’s
CM/ECF system after proper filing of an Adobe PDF version of the above items on the Court’s
secure website on August 27, 2019:

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                                             /s/ John P. Racin
                                             John P. Racin




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